 Case 1:16-cv-05032-KAM Document 30 Filed 01/30/18 Page 1 of 3 PageID #: 352



Michael E. Piston
Attorney for the Plaintiff
225 Broadway Ste 307
New York, NY 10007
Phone 646-845-9895
Fax 206-770-6350

                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NEW YORK


 MOHAMED QASEEM KAKAR,

 Plaintiff,
        vs.
                                      Case No.: 1-16-cv-05032-KAM
 UNITED STATES CITIZENSHIP
 AND IMMIGRATION SERVICES NOTICE OF MOTION

 Defendant.




                                      1
 Case 1:16-cv-05032-KAM Document 30 Filed 01/30/18 Page 2 of 3 PageID #: 353


        PLEASE TAKE NOTICE that the plaintiff, MOHAMMED KAKAR, by his attorney,

 MICHAEL E. PISTON, moves this Court, before the Honorable JUDGE KIYO A. MATSUMOTO,

 United States District Judge, at the United States Federal Courthouse, Eastern District of New

 York, 225 Cadman Plaza East, Courtroom N6G, Brooklyn, New York, [on a date to be set by

 this Court], for an Order granting a motion to for summary judgment pursuant to Federal Rules

 of Civil Procedure 56(a), and for such other and further relief as the Court deems appropriate.




   Respectfully submitted this 13th day of July, 2017.



   /s/Michael E. Piston
   Attorney for Plaintiff
   225 Broadway Ste 307
   New York, NY10007
   Ph: (646)845-9895
   Fax: (206)770-6350
   Email: michaelpiston4@gmail.com

To:

BRIDGET M. ROHDE
Acting United States Attorney
Counsel for Defendant
Eastern District of New York
271 Cadman Plaza East, 7th Floor
Brooklyn, New York 11201

LAYALIZA SOLOVEICHIK
Assistant United States Attorney
(718) 254-6298
layaliza.soloveichik@usdoj.gov




                                                2
 Case 1:16-cv-05032-KAM Document 30 Filed 01/30/18 Page 3 of 3 PageID #: 354


                                  CERTIFICATE OF SERVICE

This is to certify that on July 13, 2017 I emailed the foregoing to:

LAYALIZA SOLOVEICHIK
Assistant United States Attorney
Counsel for Defendant
Eastern District of New York
271 Cadman Plaza East, 7th Floor
Brooklyn, New York 11201
 (718) 254-6298
layaliza.soloveichik@usdoj.gov

   /s/Michael E. Piston
   Attorney for Plaintiff
   225 Broadway Ste 307
   New York, NY10007
   Ph: (646)845-9895
   Fax: (206)770-6350
   Email: michaelpiston4@gmail.com




                                                  3
